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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK


MICHELLE CLINE, et al.,                               Index No.: 14 Civ. 4744 (LAK)
                      Plaintiffs,
       v.
                                                      NOTICE OF MOTION FOR
TOUCHTUNES MUSIC CORPORATION,                         ATTORNEYS’ FEES,
                                                      REIMBURSEMENT OF
                      Defendant.                      EXPENSES, AND PLAINTFF’S
                                                      INCENTIVE AWARD




       PLEASE TAKE NOTICE that upon the accompanying Memorandum of Law in

Support of her Motion for Attorneys’ Fees, Expenses, and Plaintiff’s Incentive Award, the

Declaration of Jeffrey M. Norton, and all pleadings and proceedings herein, Plaintiff, by the

undersigned, will move this Court, before the Honorable Lewis A. Kaplan, at the United States

Courthouse, 500 Pearl Street, New York, New York 10007, on May 2, 2018 at 3:30 pm in

Courtroom 21B, for an order approving the an award of attorneys’ fees, expenses, and Plaintiff’s

incentive award.
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DATED: New York, New York
       March 9, 2018
                                         Respectfully submitted,

                                         NEWMAN FERRARA LLP

                                           s/ Jeffrey M. Norton
                                         Jeffrey M. Norton
                                         1250 Broadway, 27th Floor
                                         New York, New York 10001
                                         Telephone: (212) 619-5400
                                         Facsimile: (212) 619-3090
                                         jnorton@nfllp.com




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